        Case 7:03-cv-02764-LSC Document 126 Filed 01/19/05 Page 1 of 2                   FILED
                                                                                2005 Jan-19 PM 04:21
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

Evelyn Pierce as Administratrix for the           )
Estate of Danny Cassady, Deceased,
                                                  )
Plaintiff,
                                                  )
v.                                                    Case No. CV-03-CO-2764-W

NaphCare, et al.,                                 )

Defendants.                                       )

                    AMENDED NOTICE OF DEPOSITION

TO: Andrew W. Redd, Esq.                          Thomas A. Kendrick, Esq.
    Assistant Attorney General                    Financial Center
    Alabama Department of Corrections             Suite 1600
    P.O. Box 301501                               505 N. 20th Street
    Montgomery, AL 36130                          Birmingham, AL 35203


       PLEASE TAKE NOTICE that on February 22, 2005, at the law office of

Thomas A. Kendrick, Financial Center, Suite 1600, 505 20th Street North,

Birmingham, Alabama, 35203, the plaintiff will take the deposition of Belinda

Hogue pursuant to Rule 30 of the Federal Rules of Civil Procedure, before an

officer duly authorized to take depositions and swear witnesses in said County and

said State. The oral examination will commence at 1:00 p.m. and continue from

day to day until completed. You are invited to attend and cross-examine.
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      Respectfully submitted this 19th day of January, 2005.

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                                      Telephone: (251) 433-2002
                                      Facsimile: (251) 432-7756


                                      By: /s/Mary E. Pilcher
                                         Mary E. Pilcher (PILCM2436)
                                         Henry Brewster (BREWH7377)

                                      Attorneys for Plaintiff


                         CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of January 2005, the above and
foregoing document has been filed using the CM/ECF System which will send
notice to: cholpp@nwkt.com, tkendrick@nwkt.com, and aredd@doc.state.al.us.;
and I am depositing a copy thereof in the United States first class mail, postage
pre-paid and properly addressed to the following:

Andrew W. Redd                              Thomas A. Kendrick
Asst. Attorney General                      Celeste K. Poteat
Alabama Dept. Of Corrections                Norman, Wood, Kendrick & Turner
P.O. Box 301501                             Financial Center, Suite 1600
Montgomery, AL 36130                        505 N. 20th Street
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                                            /s/Mary E. Pilcher
                                            Attorney for Plaintiff
